                     Case: 1:16-cv-11591 Document #: 15 Filed: 08/15/16 Page 1 of 2 PageID #:48
 A0 440 (Rev. 06/12) Summons in a Civil Action


                                                UNITED                 STATES DISTRICT COURT

                                                                                         for the
                                                                         Southern District of Illinois

                             TERESA BRAND                                                  )
                                                                                           )

                                                                                           )

______________________________________________________________________________________     )
                                    Plaintiff(s)                                           )

                       v.                                                                          Civil Action No. 16-CV-43l (SMY)(DGW)
  OTTAWA REGIONAL HOSPITAL & HEALTHCARE                                                    /
  CENTER, d/b/a OSF SAINT ELIZABETH MEDICAL
 CENTER; OTTAWA REGIONAL MEDICAL CENTER,
      INC.; and OSF HEALTHCARE SYSTEM;                                                     )
______________________________________________________________________________________     )
                                  Defendant(s)                                             )



                                                                  SUMMONS IN A CIVIL ACTION

 To. (Defendant s name and address) Ottawa Regional Hospital and Healthcare Center dlb/a OSF Saint Elizabeth Medical
                                    Center
                                    1175 St. Francis Lane
                                    East Peoria, Illinois 61611




             A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)      or 60 days if you            —


 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3)   you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
                             —


 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiffs attorney,
 whose name and address are:
                                 Andrew Rozynski, Esq.
                                 Eisenberg and Baum, LLP
                                 24 Union Square East, Fourth Floor
                                 New York, New York 10003



        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                                     CLERK OF COURT


 Date: __________________________                                                                    ________________________________________________

                                                                                                                Signature of Clerk or Deputy Clerk
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 Civil Action No. I 6-CV-431 (SMY)(DGW)

                                                              PROOF OF SERVICE
                       (This section should not befiled with the court unless required by Fed~ R. Civ. P. 4 (1))

           This summons for (name of individual and title, ~f any)
 was received by me on (date)

           ~ I personally served the summons on the individual at (place)                 ____________________________
                                                                                      On (date)                           ; or

           ~ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                        a person of suitable age and discretion who resides there,
           on (date)                               ,   and mailed a copy to the individual’s last known address; or

           ~ I served the summons on (name of individual)                                                                          ,   who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                      On (date)                           ; or

           ~ I returned the summons unexecuted because                                                                                   ; or

           ~ Other (specify):




           My fees are $                           for travel and   $                     for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.


Date:     ___________________                                      _____________________________________


                                                                                                  Server’s signature



                                                                                              Printed name and title




                                                                                                  Server’s address

Additional information regarding attempted service, etc:
